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     BRIAN J. SMITH, ESQ.
 1   Nevada Bar Number 11279
 2   Law Office of Brian J. Smith, Ltd.
     520 S. 4th St., Suite 340
 3   Las Vegas, Nevada 89101
     702-380-8248
 4   Attorney for CASTILLO
 5
                                    UNITED STATES DISTRICT COURT
 6                                          DISTRICT OF NEVADA
 7   UNITED STATES OF AMERICA,                       )
                                                     )       Case No.: 2:19-cr-00012-RFB-NJK
 8   Plaintiff,                                      )
 9                                                   )       STIPULATION TO CONTINUE
     vs.                                             )       PRETRIAL REVOCATION HEARING
10                                                   )
     SIMON CASTILLO,                                 )
11                                                   )       (FOURTH REQUEST)
12                   Defendant.                      )
                                                     )
13
             IT IS HEREBY STIPULATED AND AGREED, by and between BRIAN J. SMITH, counsel
14
     for SIMON CASTILLO, Christopher Chiou, Acting United States Attorney, and ALLISON REESE,
15
16   Assistant United States Attorney, counsel for the United States of America, that the pretrial

17   revocation hearing currently scheduled for October 14, 2021, at the hour of 9:00 a.m., be vacated
18   and set to a date and time convenient to this court, but in no event earlier than sixty (60) days.
19
             This Stipulation is entered into for the following:
20
21           1. Brian J. Smith, counsel for defendant Castillo, is in agreement with this continuance.

22           2. Defendant Castillo, who is in custody, agrees to the continuance.
23           3. Counsel for the government is in agreement with this continuance.
24
             4. Thus, all parties agree to the continuance.
25
             5. Counsel needs additional time review discovery, to meet and confer with the defendant,
26
                  and to discuss hearing strategies in this matter.
27
28   //
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            6. The parties agree there are no case specific facts as to this matter where further delay
 1
                would cause harm to the interests of justice. The parties agree that a continuance of the
 2
 3              Pretrial Revocation Hearing of Supervised Release is appropriate.

 4          This is the fourth stipulation to continue filed herein.
 5          DATED this 27th day of September, 2021.
 6
 7   RESPECTFULLY SUBMITTED BY:

 8
     CHRISTOPHER CHIOU
 9   Acting United States Attorney

10
            /s/ Allison Reese                                             /s/ Brian J. Smith
11
     ALLISON REESE, ESQ.                                           BRIAN J. SMITH, ESQ.
12   Assistant United States Attorney                              Attorney for CASTILLO

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     Case 2:19-cr-00012-RFB-NJK Document 165 Filed 09/28/21 Page 3 of 3



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     Law Office of Brian J. Smith, Ltd.
 2
     520 S. 4th St., Suite 340
 3   Las Vegas, Nevada 89101
     702-380-8248
 4   Attorney for CASTILLO
 5                               UNITED STATES DISTRICT COURT
 6                                        DISTRICT OF NEVADA
 7   UNITED STATES OF AMERICA,                  )
                                                )        Case No.: 2:19-cr-00012-RFB-NJK
 8   Plaintiff,                                 )
                                                )        ORDER
 9
     vs.                                        )
10                                              )
     SIMON CASTILLO,                            )
11                                              )
                    Defendant.                  )
12
                                                )
13
                    FINDINGS OF FACT, CONCLUSION OF LAW AND ORDER
14
             Based on the stipulation of counsel, the Court finds that good cause exists to continue
15
     Defendant SIMON CASTILLO’S Pretrial Revocation Hearing currently set for October 14, 2021,
16
     to    December 16            , 2021 at 11:45 AM           .
17
             DATED this 28th       of September, 2021.
18
19
                                                HONORABLE RICHARD F. BOULWARE, II
20                                              UNITED STATES DISTRICT JUDGE
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